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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                              Case No. 21-55 (MJD)

UNITED STATES OF AMERICA,

                       Plaintiff,

        v.                                                   ORDER

JARED JOHN FIEGE,

                       Defendant.


        This matter is before the Court on a motion for an extension of the

deadline for filing sentencing position papers. Sentencing in this matter is

scheduled for May 24, 2022 at 1:00 PM.

        Based upon the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

        1.      The motion for an extension of the deadline to submit sentencing

position papers is GRANTED;

        2.      The parties’ position pleadings must be filed no later than May 16,

2022.

        SO ORDERED, this 9th day of May, 2022.



                                        s/Michael J. Davis
                                        The Honorable Michael J. Davis
                                        UNITED STATES DISTRICT COURT
